






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00032-CR






Jeffery Sharp, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BURNET COUNTY, 33RD JUDICIAL DISTRICT

NO. 38147, HONORABLE GUILFORD L. JONES III, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


PER CURIAM


		Appellant Jeffery Sharp filed his notice of appeal on January 17, 2012.  Appellant
requested and received two extensions of time to file his brief, which was due August 15, 2012.  This
Court notified appellant on September 10, 2012 that his brief was overdue.  To date, appellant's
brief&nbsp;has not been filed and appellant's retained counsel, Scott Pawgan, did not respond to this
Court's notice.

		The appeal is abated.  The trial court shall conduct a hearing to determine whether
appellant desires to prosecute this appeal, whether he is indigent, and whether his retained counsel
has abandoned this appeal.  See Tex. R. App. P. 38.8(b)(2).  The court shall make appropriate
findings and recommendations.  See id.  A record from this hearing, including copies of all findings
and orders and a transcription of the court reporter's notes, shall be forwarded to the clerk of
this&nbsp;Court for filing as a supplemental record no later than November 19, 2012.  See Tex. R. App.
P. 38.8(b)(3).



Before Chief Justice Jones, Justices Rose and Goodwin

Abated

Filed:   October 24, 2012

Do Not Publish


